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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Hala Y. Jarbou
v.
                                                           Case No. 1:22-cr-00093
TEIUN TRYEE WALKER,

      Defendant.
________________________________/
                                      ORDER


      Defendant appeared before me on July 27, 2022, with appointed counsel for a

detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After being

advised of his rights, including those attendant to a detention hearing, defendant

waived his right to the hearing. I find that his waiver was knowingly and voluntarily

entered. If circumstances change, defendant may ask to revisit the issue of detention.

      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on July 27, 2022.




                                               /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge
